Case 1:21-cr-00083-TNM Document 138-1 Filed 08/25/23 Page 1 of 2

UNITED STATES DISTRICT COURT

DISTRICT COLUMBIA
-X
UNITED STATES OF AMERICA,
Case No. 1:21-cr-83 (TNM)
Plaintiff, AFFIRMATION IN SUPPORT
OF MOTION TO APPEAR PRO
-against- HAC VICE PURSUANT TO LCvR
$3.2(C) AND 44.1(C)

BRANDON FELLOWS,

Defendant.

JULIE A. NOCIOLO, ESQ., under penalties of perjury, affirms as follows:

1. lam an attorney at law duly licensed to practice in the State of New York, and am
associated with the law firm of E. STEWART JONES HACKER MURPHY, LLP, located at 28
Second Street in Troy, New York 12180.

2. I make this Affirmation pursuant to Local Rules 83.2(c) and 44. 1(c) and in
support of my motion to appear pro hac vice and participate as counsel in the above captioned
case.

3, As mandated by Local Ruie 44.1(c)(2), this motion is signed by Emily Lagan.

4, My primary offices are located at 28 Second St., Troy, NY 12180, and I can be
contacted via office telephone at (518) 274-5820, I regularly practice in New York State.

5. I have been admitted to the following bars:

a. State of New York

b. State of New Jersey

c. United States District Court, Northern District of New York
d. United States District Court, Southern District of New York

e. United States Court of Appeals for the Second Circuit
Case 1:21-cr-00083-TNM Document 138-1 Filed 08/25/23 Page 2 of 2

6. I certify that I have not been disciplined by any aforementioned bar I am admitted
to.

7. This is my first application to be admitted pro hac vice in this Court.

8. I am not a member of the District of Columbia Bar and do not have an application
for membership pending.

9, I do not engage in the practice of law from any office located in the District of
Columbia.

10. Attached hereto and made part hereof are the following exhibits:

a. Certificate of Good Standing the New York Star Bar, dated
August 22, 2023 Exhibit “A”

b. Receipt of payment of $100 Exhibit “B”
11. J thank the Court for their attention to this matter.
WHEREFORE, for all of the reasons set forth herein, it is respectfully requested

this Court grant this motion to appear pro hac vice on behalf of putatively-subpoenaed witness

Peter Fobare in United States of America v. Brandon Fellows before this Court.

DATED: August 25, 2023

Respectfully submitted,

“Emily C. Lagan
Bar Roll No, 1645159
Regan Zambri Long PLLC
1919 M Street, NW, Suite 350
Washington, DC 20035
202-349-2827
elagan@reganfirm.com
